Case 4:21-cv-00734 Document 1-7 Filed on 03/05/21 in TXSD Page 1 of 1

JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

Santiago Esequiel Castillo

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Michael J. Cisneros
The Cisneros Law Firm, LLP
312 Lindbera. McAllen. Texas 78501

Harris County, Texas

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
DEFENDANTS Aaron's, LLC

NOTE:

Attomeys (If Known)

 

County of Residence of First Listed Defendant

Fulton County, GA

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVE

Maryalyce W. Cox, MehaffyWeber, P.C. One Allen Center,
500 Dallas St., Ste. 2800 Houston, Texas 77002 Phone:
713-655-1200 Fax: 713-655-0222

 

II. BASIS OF JURISDICTION (Place an "X” in One Box Only)

 

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

  

 

 

(For Diversity Cases Only) and One Box for Defendant)
[]1 U.S. Government (_]3 Federal Question © PIF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x] 1 Oo 1 Incorporated or Principal Place CI 4 CL 4
of Business In This State
{_]2 U.S. Government [x]4 Diversity Citizen of Another State (2 [7 2 Incorporated and Principal Place [15 [x]s
Defendant (indicate Citizenship of Parties in Item Iil) of Business In Another State
Citizen or Subject ofa [13 (] 3. Foreign Nation Ole (C6
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
i CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY ] 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane [_] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability ] 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CT 367 Health Care/ |] 400 State Reapportionment
LJ 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPE! AES 410 Antitrust
& Enforcement of Judgment] Slander Personal Injury © 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act } 330 Federal Employers’ Product Liability 830 Patent "| 450 Commerce
152 Recovery of Defaulted Liability CL] 368 Asbestos Personal |_| 835 Patent - Abbreviated | 460 Deportation
Student Loans 340 Marine Injury Product _ New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
CI 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR ] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud | 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
C] 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
C4 190 Other Contract Product Liability CJ 380 Other Personal | _|720 Labor/M: lent SOCIAL SECURITY Protection Act
~ 195 Contract Product Liability [xX] 360 Other Personal _ Property Damage Relations 861 HIA (1395ff) - 490 Cable/Sat TV
196 Franchise Injury CT 385 Property Damage 740 Railway Labor Act | 862 Black Lung (923) 850 Securities/Commodities/
|] 362 Personal Injury - Product Liability Hi Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI a 890 Other Statutory Actions
tEAL OPER CIVIL RIGHTS 790 Other Labor Litigation 865 RSI (405(g)) a 891 Agricultural Acts
210 Land Condemnation - 440 Other Civil Rights Habeas Corpus: | _|791 Employee Retirement 893 Environmental Matters
L] 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act = L SETS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S, Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations |] 530 General __| 871 IRS—Third Party 899 Administrative Procedure
[_]290 All Other Real Property [|_| 445 Amer. w/Disabilities -| | 535 Death Penalty | TMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities -| | 540 Mandamus & Other 465 Other Immigration [| 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
iy 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

- ORIGIN (Place an “X” in One Box Only)

1 Original
0 Proceeding

VI. CAUSE OF ACTION

VU. REQUESTED IN
COMPLAINT: |

[x]2 Removed from
State Court

3 Remanded from
Appellate Court

28 U.S.C. 1441 and 1332

Brief description of cause:
Slip and Fall at Aaron's.

[] CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

 

VIII. RELATED CASE(S)

(See instructions):

Reopened

c4 Reinstated or Oo 5 Transferred from
Another District

(specify)

DEMAND $
$1,000,000

 

 

Cite the U.S. Civil Statute under which you are filing (Doe not cite jurisdictional statutes unless diversity):

6 Multidistrict
Litigation -
Transfer

8 Multidistrict
Litigation -
Direct File

CHECK YES only if demanded in complaint:

JURY DEMAND: [x] Yes

_]No

 

 

IF ANY JUDGE DOCKET NUMBER
DATE SIGN: :
4,f' S [- Lot
FOR OFFICE USE ONLY \) (\
AMOUNT APPLYING IFP JUDGE MAG. JUDGE

RECEIPT #
